Case 8:15-cv-00286-DKC Document 2-1 Filed 02/02/15 Page 1 of 6

IN THE DISTRICT COURT FOR MONTGOMERY COUNTY, MARYLAND

DILIA LORENZANA MONZON
3317 Chauncey Place
Apt. 101
Mount Rainier, Maryland 20712
Civil Case No.
Plaintiff,

y.

GALI SERVICES INDUSTRIES, INC.
12312 Wilkins Avenue
Rockville, Maryland 20852

Serve: Resident Agent
- CT Corporation System
1015 15” Street, NW
Suite 1000
Washington, DC 20005

. and

- BOLANA CAPITOL ENTERPRISES, INC. :
4645 Nannie Helen Burroughs Avenue, NE :
Suite 260 :
Washington, DC 20019

Serve: Resident Agent
Deborah Jones :
4016 Martin Luther King Jr. :
Avenue, SW
Washington, DC 20032

Defendants.
CONTINUATION SHEET
Plaintiff, Dilia Lorenzana Monzon (“Plaintiff”), by and through her attorneys, Mary

Craine Lombardo and Stein Sperling Bennett De Jong Discoll PC, hereby files her Complaint

STEIN SPERLING BENNETT
DE JONG DRISCOLL PC

25 WEST MIDDLE LANE
ROCKVILLE, MARYLAND 20850

LASER HATS “Defendants”), under the D.C. Wage Payment and Collection Law (“DCWPCL”), D.C. ST § 32-

ATTORNEYS AT LAW against Gali Services Industries, Inc. and Bolana Capitol Enterprises, Inc. (collectively

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Case 8:15-cv-00286-DKC Document 2-1 Filed 02/02/15 Page 2 of 6

1301, et seq., the Fair Labor Standards Act of 1938, 29-U.8.C. § 201, et seg. (“FLSA”), and the
D.C. Wage Revision Act (“DCMWRA”) D.C. ST §32-1003, et seg., stating as follows:
INTRODUCTION

Plaintiff worked for Defendants as a maintenance worker. She worked approximately
fifty-six hours per week and was not paid at the overtime rate of one and a half times her hourly
rate for hours over 40 per week as required by D.C. and federal law. Defendants have willfully
violated the clear and well-established overtime provisions of the FLSA, the DCMWRA, and the
DCWPCL. Plaintiff seeks compensatory and statutory damages for all unpaid overtime
compensation, as well as darneys! fees and costs.

JURISDICTION & VENUE
[ This Court has subject matter jurisdiction over the causes of action alleged in thts
Complaint pursuant to Md, Code Ann., Cts. & Jud. Proc., § 6-102.
Di Venue is proper pursuant to Md. Code Ann., Cts. & Jud. Proc., § 6-201.
PARTIES
3. Plaintiff is an adult resident of Maryland.
4, Defendant Gali Services Industries, Inc. (“Gali Services”) is a Maryland

corporation, registered to do business in the District of Columbia.

5. Defendant Bolana Capitol Enterprises, Inc. (Bolana Capitol”) is a District of
Columbia corporation.
6. At all times material herein, Defendants, in the aggregate and as a single

enterprise, had annual gross volume of sales made or business done in an amount exceeding

$500,000.

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Case 8:15-cv-00286-DKC Document 2-1 Filed 02/02/15 Page 3 of 6

7. Each Defendant is an “employer” within the meaning of the FLSA, the
DCMWRA, and the DCWPCL. |

8. Defendants have at least two or more employees who are engaged in commerce,
handle, sell or otherwise work on goods or materials that have moved in or were produced for

commerce. Defendants negotiate and purchase from producers and suppliers who operate in

interstate commerce and serves customers in interstate commerce.

9. At all times relevant, Defendants constituted an “enterprise” within the meaning
of 29 U.S.C. § 203(r).

FACTS

10. Plaintiff was employed by Defendants as a maintenance worker from March 16,
2012 through June 30, 2014 (the “Employment Period”).

11. Throughout the Employment Period, Plaintiff worked for both Defendants under
the same managers at all times.

12, Plaintiff was paid at an hourly rate of $8.50.

13, Plaintiff worked for Defendants for approximately fifty-six hours per week and
was never compensated at the required — rate of one and one half times her regular hourly
tate for those hours worked over forty hours.

14. _—‘ Plaintiffis owed approximately $6,229.95 in aventinae wages.

15, Plaintiff is owed overtime wages that Defendants willfully failed and refused to
pay to Plaintiff in violation of D.C. and federal law.

16. By statute, Defendants are required to maintain records which document the

number of days Plaintiff worked. See 29 U.S.C. §211.

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Case 8:15-cv-00286-DKC Document 2-1 Filed 02/02/15 Page 4 of 6

17. The precise number of hours worked, and wages owed, should be revealed
through discovery.

18. Defendants knowingly and intentionally violated Plaintiff’s rights under D.C. and

federal law,

COUNT I
(FLSA)

19. Plaintiff adopts herein by reference paragraphs | through 18 above as if fully set

forth herein,

20. Defendants were required to pay Plaintiff compensation at the rate of one and a
half times her regular hourly rate for all hours worked in excess of forty hours per week. See 29
ULS.C. § 207(a)(2).

21. Throughout the Employment Period, Defendants failed to compensate Plaintiff at
the rate of one and a half times her regular hourly rate for all hours worked in excess of forty
hours per week,

22. Defendants’ actions complained of herein constitute a willful violation of Section

207 of the FLSA.

23. Defendants’ violation makes them liable to Plaintiff for all unpaid wages and
unpaid overtime compensation, and an additional equal amount as liquidated damages.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment
against Defendants, jointly and severally, in her favor in an amount to be determined at trial, but
not less than $12,459.00, which is two times the total overtime compensation owed, reasonable

attorneys’ fees and costs, and such other and further relief as the Court deems just and proper.

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Case 8:15-cv-00286-DKC Document 2-1 Filed 02/02/15 Page 5 of 6

COUNT II
(Violation of the D.C. Minimum Wage Revision Act)

24, Plaintiff adopts herein by reference paragraphs 1 through 18 above as if fully set
forth herein.

28, Defendants were required to pay Plaintiff one and a half times her regular hourly
rate for hours in excess of forty hours per week. See D.C. ST §32-1012.

26. | Throughout the Employment Period, Defendants failed to properly pay Plaintiff
overtime required by the DCMWRA.

27, Unpaid overtime wages are due and owing to Plaintiff by Defendants,

28. Defendants’ failure and refusal ts comply with their obligations under the
DCMWRA was willful and not in good faith.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment
against Defendants, jointly and severally, in favor of Plaintiff in an amount to be determined at
trial, but not less than $6,229.95 and to grant to Plaintiff her reasonable attorneys’ fees and costs,
and such other and further relief as the Court deems just and proper.

COUNT Ill
(Violation of the D.C. Wage Payment and Collection Law)

29. Plaintiff adopts herein by reference paragraphs 1 through 18 above as if fully set
forth herein.

30. The amounts owed to Plaintiff by Defendants for unpaid overtime wages
constitute “wages” under the DCWPCL. D.C. ST § 32-1301(3).

31. Defendants were required to pay to Plaintiff overtime wages at the rate of one and

a half times her regular hourly rate for all hours worked in excess of forty hours per week. See

D.C, ST §32-101,

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Case 8:15-cv-00286-DKC Document 2-1 Filed 02/02/15 Page 6 of 6

32. Unpaid overtime wages are due and owing to Plaintiff by Defendants.

33. Defendants’ failure and refusal to comply with their obligations under the
DCWPCL was not due to any bona fide dispute, and was therefore willful and not in good faith.

WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter judgment
against Defendants, jointly and severally, in favor of Plaintiff in an amount to be determined at
trial, but not less than $18,689.85, which is approximately three times the wages owed; and to
grant to Plaintiff her reasonable attorneys’ fees and costs and such other and further relief as the

Court deems just and proper,

Respectfully submitted,

STEIN SPERLING BENNETT
DE JONG DRISCOLL PC

 

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